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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
OPTUM, INC. and                      )
OPTUM SERVICES, INC.,                )
                                     )
            Plaintiffs,              )
                                     )
v.                                   )   Civil Action No. 19-CV-10101
                                     )
DAVID WILLIAM SMITH,                 )
                                     )
            Defendant.               )
____________________________________)

                             MOTION TO INTERVENE AND
                         TO UNSEAL PORTION OF TRANSCRIPT
                            OF JANUARY 31, 2019 HEARING
                                 (Hearing Requested)

       Proposed Intervenors Dow Jones & Company, Inc., publisher of The Wall Street Journal,

and Boston Globe Media Partners, LLC, publisher of STAT and The Boston Globe,

(“Intervenors”), hereby move to intervene pursuant to Fed. R. Civ. P. 24(b) and to unseal the

sealed portion of the transcript of the Court’s January 31, 2019 hearing. In support of this

motion, Intervenors submit the accompanying memorandum of law.

       The subject matter of this action, and the information provided at the hearing, are of

significant public interest. Accordingly, Intervenors respectfully request that a hearing be

scheduled on this motion at the Court’s earliest convenience. See Lugosch v. Pyramid Co. of

Onondaga, 435 F.3d 110, 126 (2d Cir. 2006) (stating that district court “must make its findings

quickly” in proceedings to unseal court records).
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            WHEREFORE, Intervenors respectfully request that their Motion to Intervene and

Unseal be granted.

                                               Respectfully Submitted,

                                               DOW JONES & COMPANY, INC. and
                                               BOSTON GLOBE MEDIA PARTNERS, LLC,

                                               By their Attorneys,

                                               /s/ Jeffrey J. Pyle
                                               Robert A. Bertsche (BBO #554333)
                                               Jeffrey J. Pyle (BBO #647438)
                                               PRINCE LOBEL TYE LLP
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                                               Boston, MA 02110
                                               (617) 456-8000 (tel.)
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                                               jpyle@PrinceLobel.com


                        CERTIFICATION PURSUANT TO LOCAL RULE 7.1

       I hereby certify that on February 8, 2019, I conferred with counsel for the parties by
telephone in a good faith attempt to narrow or resolve the issues raised by this motion.

                                               /s/ Jeffrey J. Pyle
                                               Jeffrey J. Pyle


                                    CERTIFICATE OF SERVICE

        I, Jeffrey J. Pyle, hereby certify that this document filed through the ECF system will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing
(“NEF”) and paper copies will be sent to those indicated as non-registered participants on
February 8, 2019.

                                                      /s/ Jeffrey J. Pyle
                                                      Jeffrey J. Pyle




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